                         Case 6:21-cr-06100-CJS Document 25 Filed 11/19/21 Page 1 of 6

AO 245B       (Rev. 10/19) Judgment in a Criminal Case                                                                        KJCfor NJB/jlb (7172253)
              Sheet 1




                                         United States District Court
                                                         Western District Of New York

              UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                  V.


                                                                                 Case Number:             6:21 CR06100-001
                            Ryan Howe
                        a/k/a Ryiea Autumn                                       USM Number:              10062-509

                                                                                 Steven G. Slawinski
                                                                                 Defendant's Attorney

THE DEFENDANT:

13 pleaded guilty to count(s)                                                    1 of the Information

□ pleaded nolo contendere to count(s)
   which was accepted by the court.
□ was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
Title & Section                  Nature of Offense                                                            Offense Ended             Count
18 U.S.C§ 231(a)(3)              Civil Disorder                                                                 9/24/2020                  1




       The defendant is sentenced as provided in pages 2 through                         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)              _
13 Criminal Complaint 20-MJ-4198                            is    □ a re dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                         November 18, 202 L
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge




                                                                         Honorable Charles J. Siragusa, U.S. District
                                                                         Name and Title of Judge


                                                                                Ihl8-Zl
                                                                         Date
Case 6:21-cr-06100-CJS Document 25 Filed 11/19/21 Page 2 of 6
Case 6:21-cr-06100-CJS Document 25 Filed 11/19/21 Page 3 of 6
Case 6:21-cr-06100-CJS Document 25 Filed 11/19/21 Page 4 of 6
Case 6:21-cr-06100-CJS Document 25 Filed 11/19/21 Page 5 of 6
Case 6:21-cr-06100-CJS Document 25 Filed 11/19/21 Page 6 of 6
